  Case 1:21-sw-00590-PAS Document 2 Filed 12/16/21 Page 1 of 5 PageID #: 62




                             AFFIDAVIT IN SUPPORT OF
                    AN APPLICATION FOR A CRIMINAL COMPLAINT
                              AND ARREST WARRANT

       I, James V. Richardson, a Special Agent (SA) with Homeland Security

Investigations, being duly sworn, hereby depose and state as follows:

                                       INTRODUCTION

       1.     I have been employed as a Special Agent of the U.S. Department of

Homeland Security, Homeland Security Investigations (“HSI”) since 2009 and am

currently assigned to the office of the Resident Agent in Charge (RAC), Providence, RI.

While employed by HSI, I have investigated federal criminal violations related to high

technology or cybercrime, child exploitation, and child pornography. I have gained

experience through training at the Federal Law Enforcement Training Center in

Brunswick, GA, and as a member of the Rhode Island Internet Crimes Against Children

(ICAC) Task Force conducting these types of investigations. I have investigated child

pornography cases and related sexual offenses on a full-time basis since approximately

January 2010. I have received training in the area of child pornography and child

exploitation and have had the opportunity to observe and review numerous examples

of child pornography (as defined in 18 U.S.C. § 2256) in all forms of media including

computer media. I have conducted and assisted in conducting numerous investigations

into the violation of both state and federal laws relating to the possession, receipt,

transportation, distribution, and production of child pornography and obscene visual

representations of the sexual abuse of children over the Internet. I have reviewed

hundreds of images and videos of actual and suspected child pornography, child
    Case 1:21-sw-00590-PAS Document 2 Filed 12/16/21 Page 2 of 5 PageID #: 63




erotica, and obscene visual representations of the sexual abuse of children. Moreover, I

am a federal law enforcement officer who is engaged in enforcing the criminal laws,

including 18 U.S.C. §§ 2252 and 2252A, and I am authorized by law to request a search

warrant.

         2.       This affidavit is submitted in support of an application for a criminal

complaint charging JAMES W. JACKSON, (D.O.B. xx/xx/1955) (“JACKSON”) with

distributing child pornography in violation of 18 U.S.C. 2252(a)(2) and possessing and

accessing with intent to view child pornography in violation of 18 U.S.C. 2252(a)(4).

         3.       On September 4, 2021, East Providence Police Department (EPPD) and

Internet Crimes Against Children (ICAC) Task Force member Detective Corporal

Stephen Evans identified a computer or other device utilizing Internet Protocol (IP)

address 72.82.21.56 sharing files of child sexual abuse material (CSAM) using a peer-to-

peer file-sharing network 1. Detective Corporal Evans viewed a portion of the

aforementioned files and confirmed several of the video files content to be CSAM. One

of the files is described below:

                  File Name: Wanted Dad And Daughter-1

                  Description: This video is two minutes, and thirty-two seconds of a nude

                  prepubescent female performing oral sex on an adult male.



1
  peer-to-peer networks are designed to facilitate the sharing of electronic files between participating members over
the Internet. To become a member of a peer-to-peer network, a computer user installs file-sharing software on a
computer which creates a “sharing folder”, into which may be placed any electronic files available for other
members on the network to copy. The user also gains the ability to copy any electronic files into his/her "sharing
folder" from other network members. A single peer-to-peer network may consist of thousands of interconnected
computers, and the electronic files available on that network are all stored on the individual members’ computers
rather than on a central host computer.
  Case 1:21-sw-00590-PAS Document 2 Filed 12/16/21 Page 3 of 5 PageID #: 64




       4.     Detective Corporal Evans conducted an inquiry with the American

Registry of Internet Numbers (ARIN) and determined that the owner of IP address

72.82.21.56 is Verizon Fios, 180 Washington Valley Road, Bedminster, NJ, 07921. The IP

address was geolocated to the Providence area of Rhode Island. Geolocation is the

process of approximating the location of a computer or other device connected to the

internet based on its IP address. Detective Corporal Evans sent legal process to Verizon

for the subscriber of 72.82.21.56 on September 4, 2021 at 11:11:59 (UTC). Verizon

responded to the legal process and identified the subscriber as St. Mary’s Church of

Providence, 538 Broadway, Floor 1, Providence, Rhode Island 02909.

       5.     Detective Corporal Evans observed a computer or other device using

Internet Protocol (IP) address 72.82.21.56 was on a peer-to-peer file-sharing network on

Sunday, September 26, 2021 at 5:32PM, Friday October 15, 2021 at 3:12PM, and Sunday,

October 17, 2021 3:58PM. The connection on October 15, 2021, revealed nine additional

files of CSAM. Detective Corporal Evans viewed a portion of the aforementioned files

and confirmed several of the video files content to be consistent with CSAM. One of the

files is described below:

              File Name: 000007.mp4

              Description: This video is thirty-three minutes and thirteen seconds long.

              The video is of a nude pubescent female showing her hands being bound

              behind her back by an individual in a black robe covering the face and

              extremities. The robed individual forces the prepubescent female to

              perform oral sex on an artificial object shaped like an adult male penis.
  Case 1:21-sw-00590-PAS Document 2 Filed 12/16/21 Page 4 of 5 PageID #: 65




              The robed individual then places the object in the vagina of the pubescent

              female.

       6.     On October 30, 2021, Detective Corporal Evans and other members of the

ICAC Task Force executed a state authorized search warrant at St. Mary’s Church of

Providence, 538 Broadway, Providence, Rhode Island 02909 to include exterior

buildings on the property to include the detached yellow building commonly known as

the rectory. ICAC Task Force members encountered a Catholic priest names JAMES W.

JACKSON outside of the rectory building. Detective Corporal Evans and another ICAC

Task Force member spoke to JACKSON inside the rectory in a dining room/common

area while other members searched two rooms occupied by JACKSON inside the

rectory. JACKSON was given his Miranda rights and asked to speak with an attorney

after learning that detectives were there to investigate offenses related to child

pornography.

       7.     RISP Forensic Analyst (FA) Gerald Gent conducted an on-scene forensic

preview of JACKSON ‘s 2 terabyte Western Digital easystore external hard drive (Serial

Number WXG1EC99L2ZH) located in JACKSON’s office area of the rectory which

adjoined JACKSON’s bedroom. As a result of the preview, FA Gent observed hundreds

of image and video files depicting CSAM. These image and video files depicted

prepubescent females, including infants and toddlers, engaged in sexual acts, to include

bondage and bestiality, and/or the graphic and lascivious exhibition of their genitals.

One particular video file, Jenny Suck Dog Cock And Loving It.avi, was in the folder
  Case 1:21-sw-00590-PAS Document 2 Filed 12/16/21 Page 5 of 5 PageID #: 66




\KD Mov\Jenny\ and depicts a nude prepubescent female repeatedly inserting a dog's

penis into her mouth.

       8.     Based on the above, I believe there is probable cause to arrest JAMES W.

JACKSON for knowingly distributing child pornography in violation of 18 U.S.C.

2252(a)(2); and possessing and accessing with intent to view child pornography in

violation of 18 U.S.C. 2252(a)(4).




Attested to by the applicant in accordance with the requirements of Fed.
        R. Crim. P. 4.1 by telephone. Sworn telephonically and signed electronically


     November 1, 2021
   ______________________                __________________________________
          Date                                 Judge’s signature

   ______________________
  Providence,   Rhode Island             Patricia A. Sullivan, U.S. Magistrate Judge
        City and State                                 Printed name and title
